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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division

 ROSY GIRON DE REYES; JOSE
 DAGOBERTO REYES; FELIX ALEXIS
 BOLANOS; RUTH RIVAS; YOVANA
 JALDIN SOLIS; ESTEBAN RUBEN MOYA
 YRAPURA; ROSA ELENA AMAYA; and
 HERBERT DAVID SARAVIA CRUZ,
                                          Civil Action No. 1:16cv00563-TSE-TCB
             Plaintiffs,

       vs.

 WAPLES MOBILE HOME PARK LIMITED
 PARTNERSHIP; WAPLES PROJECT
 LIMITED PARTNERSHIP; and A.J.
 DWOSKIN & ASSOCIATES, INC.,

             Defendants.


     PLAINTIFFS’ OBJECTION TO MAGISTRATE JUDGE’S ORDER DENYING
                    PLAINTIFFS’ MOTION TO COMPEL
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                                         INTRODUCTION

        Plaintiffs are entitled to discovery of responsive, non-privileged documents. Yet

 Defendants are refusing to provide certain responsive, non-privileged discovery on the basis of

 two improper justifications. First, Defendants have redacted documents that they concede are

 relevant, exclusively on the basis that the redacted information is, in their view,

 “irrelevant.” Second, Defendants have withheld, on the basis of the attorney work product

 doctrine, communications between Defendants and a neutral third-party that simply do not

 constitute attorney work product.1 Because neither position was justified, Plaintiffs moved to

 compel production of these two categories of documents. Without giving Plaintiffs an

 opportunity to be heard, Magistrate Judge Buchanan summarily denied Plaintiffs’ motion to

 compel.

        Plaintiffs object to the Magistrate Judge’s order. Regarding the redacted documents, the

 Magistrate Judge’s conclusion that “[i]rrelevant information contained within an otherwise

 relevant document is like any other irrelevant material that need not be produced” not only

 disregards the actual nature of the documents at issue, but also is contrary to established

 law. The Magistrate Judge clearly erred by finding that the redactions at issue encompassed

 irrelevant information; these redactions cover plainly relevant matter.2 Further, as federal court


 1
         In fact, Defendants originally asserted attorney-client privilege over these
 communications, even though several of these communications do not involve attorneys, and all
 of these communications involved the presence of a neutral third-party in this litigation. When
 Plaintiffs challenged Defendants’ position during the meet and confer process, Defendants
 immediately withdrew that assertion of attorney-client privilege.
 2
         The Magistrate Judge’s order also disregards Plaintiffs’ arguments, and is instead
 premised on Defendants’ egregious mischaracterizations of Plaintiffs’ arguments. In their
 opposition brief, Defendants stated that, effectively, “Plaintiffs assert that irrelevant information .
 . . must be logged on a relevance log of some sort.” Opp’n Mot. Compel (“Opp’n”) (Dkt. No.
 85) at 2-3. Plaintiffs never made such an argument. Yet the Magistrate Judge’s decision on the
 redaction issue begins by stating that “documents that were partially redacted as irrelevant . . .



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 authority makes clear, a party may not unilaterally redact information from documents that are

 otherwise responsive solely on the basis that such redacted information is “irrelevant.” Yet the

 Magistrate Judge’s order explicitly condones such conduct.

        Regarding the purportedly privileged communications, the Magistrate Judge’s conclusion

 that Defendants had “set forth a prima facie claim of work-product privilege” even “though they

 may be directed to a third party” was clearly erroneous and contrary to law. Order (Dkt. No. 92)

 at 1. The Magistrate Judge clearly erred by ignoring the fact that the communications at issue

 were either made by or to a neutral third party in this litigation. The Magistrate Judge’s ruling

 was also contrary to established law defining attorney work product in the first instance, and

 explaining how work product protection is waived.

        Accordingly, Plaintiffs respectfully request that the Court set aside the Magistrate Judge’s

 order and compel Defendants to produce the documents subject to Plaintiffs’ motion

 immediately. Plaintiffs also respectfully request permission to reopen any depositions of

 Defendants after receiving the outstanding documents for the purpose of questioning

 Defendants’ witnesses on such documents.

                                   FACTUAL BACKGROUND

        On May 23, 2016, Plaintiffs filed this lawsuit challenging Defendants’ sudden

 enforcement of a dormant policy requiring all occupants over the age of eighteen to provide




 need not be listed on the privilege log.” Order at 2. Additionally, the Magistrate Judge’s order
 presumes facts that neither party set forth in their briefing, but that are decidedly favorable to
 Defendants. Specifically, the order states that “[a]bsent specific need, personal information and
 identities would certainly be irrelevant[,]” even though Defendants did not assert that the
 redactions at issue encompassed either personal information or identities. Id. Indeed,
 Defendants’ sole argument is that it may redact portions of otherwise relevant documents
 exclusively “on the basis of irrelevance.” Opp’n at 13.



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 documentation proving their legal presence in the United States.3 On September 1, 2016, the

 Court issued an order denying in full Defendants’ motion to dismiss. (Dkt. No. 57.)

        On August 18, 2016, the Court entered the Scheduling Order (Dkt. No. 47) approving the

 parties’ Proposed Joint Discovery Plan. (Dkt. No. 41). In the Joint Discovery Plan, the parties

 agreed to address “any claims of privilege made within discovery responses” in a privilege

 log. Joint Discovery Plan at 4–5. The parties further agreed to provide information and a

 description “sufficient to understand the subject matter of the document and the basis of the

 claim of privilege or immunity. . . [for] any Document that has been redacted or withheld on the

 basis of a claim of privilege or immunity.” Id. The Court also entered the parties’ Proposed

 Protective Order (Dkt. No. 45). By stipulating to the Protective Order, the parties agreed that

 “Documents and things produced during the course of discovery deemed by the party producing

 or disclosing them (“Producing Party”) to contain confidential information may be designated by

 the Producing Party by marking the document or thing with the legend

 ‘CONFIDENTIAL.’” Protective Order at ¶ 2. The parties also agreed that “no discoverable

 information may be withheld from discovery on the ground that the material to be disclosed

 requires protection greater than that afforded by this Order unless the party claiming a need for

 greater protection moves for an order providing such special protection by no later than the date

 on which its response to such discovery is due.” Id. at ¶ 11.




 3
         The Complaint specifically brings claims for: Violation of Fair Housing Act, 42 U.S.C. §
 3601 et seq. (“FHA”) (Count I); Violation of Virginia Fair Housing Law, Va. Code § 36-96 et
 seq. (“VFHL”) (Count II); Violation of Virginia Manufactured Home Lot Rental Act
 (“VMHLRA”), Va. Code § 55-248.41 et seq. (Count III); Violation of 42 U.S.C. § 1981 (Count
 IV); Breach of Contract (Count V); and Tortious Interference With Contract (Count VI). The
 Court dismissed with prejudice Count VI of the Complaint per the parties’ agreement. (Dkt. 29
 at 8 n.2; Dkt. 34.).


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        During the course of discovery, the parties met and conferred regarding Plaintiffs’ first

 set of requests for production and interrogatories. During the meet and confer process,

 Defendants further confirmed that “any emails Defendants withhold based on attorney-client

 privilege and work product protections will be included in a privilege log.” Ex. 1 (Sept. 12, 2016

 email from M. Dingman to A. Trajtenberg).

        On October 19, 2016, Plaintiffs requested that Defendants produce a privilege log as

 required by the Joint Discovery Plan. See Ex. 2 (Oct. 19, 2016 email from A. Trajtenberg to J.

 deBettencourt). On October 21, 2016, Defendants produced their privilege log. See Ex. 3

 (Defendants’ Oct. 21, 2016 privilege log). Plaintiffs notified Defendants that several of their log

 descriptions were insufficient to evaluate Defendants’ claim of privilege or immunity, explained

 what information was needed, and requested that Defendants cure their breach of the Protective

 Order. Ex. 4 (November 4, 2016 email from A. Trajtenberg to J. deBettencourt). With regards

 to the Protective Order and Joint Discovery Plan, Plaintiffs made clear that Defendants needed to

 include documents redacted on the basis of attorney-client privilege on the privilege log, and

 then either (1) produce unredacted versions of non-privileged, redacted documents, or (2) move

 the court for an order for any redacted documents that required greater protection than that

 provided by the Protective Order as required by the Protective Order. See id.

        Defendants responded on November 10, 2016 providing an “updated” privilege log, Ex. 5

 (Defendants’ Nov. 10, 2016 privilege log), and explaining their claims of privilege. Defendants

 claimed work product protection and attorney-client privilege in their amended privilege log for

 all communications between any of the Defendants’ employees and employees of Yardi, even

 though Yardi is a neutral third-party that provides business services to Defendants on an arms-

 length basis. Specifically, Defendants use Yardi’s software to process prospective tenants’




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  applications and track current tenants. The excerpt below shows one example in which

  Defendants claim work product protection over an email sent by Defendants’ Chief Financial

  Officer, Mark Jones, to Yardi’s Vice President:




  Ex. 5 at 8. The rest of Defendants’ purported “work-product” claims encompass substantially

  similar entries.

            In their November 10th response, Defendants also reasserted their unabashed refusal to

  comply with the Protective Order, arguing they could redact information they deemed to be

  irrelevant. Ex. 6 (Nov. 10, 2016 email from J. deBettencourt to A. Trajtenberg). Defendants

  made liberal redactions on various responsive documents on the sole basis that the redacted

  information was, in Defendants’ view, not relevant. The scope of these redactions varies from

  covering entire pages to redacting the names of prospective tenants inquiring about renting a lot

  at Waples Mobile Home Park (the “Park”), and even to information regarding press coverage

  relating to this case:




  Ex. 7 (                                                         ).




                                                    5
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         The next day, Plaintiffs requested to meet and confer with Defendants. Ex. 8 (November

  11, 2016 email from A. Trajtenberg to J. deBettencourt). During the meet and confer,

  Defendants represented that their redactions were made solely on the basis of relevance—that is,

  no redaction was made on the basis of attorney-client privilege, personal identifying information,

  or any other grounds included in the Protective Order.4 Defendants also represented all

  communications with Yardi were work product.

         Accordingly, on November 11, 2016, Plaintiffs filed a motion to compel production of

  (1) the communications between Defendants and third-party Yardi that Defendants withheld

  under a claim of work product doctrine and (2) unredacted versions of otherwise relevant

  documents that Defendants either partially or fully redacted based on Defendants’ unilateral

  decision that the redaction information was not relevant. Plaintiffs noticed a hearing for

  November 18, 2016. Defendants filed an opposition to Plaintiffs’ motion to compel, which

  mischaracterized Plaintiffs’ positions regarding the redactions, and claimed communications

  with Yardi were limited to obtaining information about Yardi’s “procedures for conducting

  criminal background and credit checks” Opp’n at 13. On November 17, 2016, Plaintiffs filed

  their reply, which attached Defendants’ own documents confirming that Yardi was an

  “independent contractor” with respect to Defendants, and a declaration confirming Yardi’s self-

  described neutrality with respect to this litigation. A few hours later, the Court informed the

  parties that it would not hear any argument and a ruling would be made on the papers.



  4
    The Protective Order defines Confidential information as “(a) information prohibited from
  public disclosure by statute; (b) information that reveals trade secrets; (c) research, technical,
  commercial, financial, or other sensitive business information; (d) communications that the party
  has maintained as confidential; (e) sensitive personal information; (f) sensitive personal financial
  information, including but not limited to income tax returns, W-2 forms, and 1099 forms; (g)
  personnel or employment records; and (h) all documents designated as confidential by the
  agreement of counsel.” Protective Order at 1-2.


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         On November 18, 2016, the Magistrate Judge issued an order denying Plaintiffs’ motion,

  which, in the Magistrate Judge’s view, “assert[ed] that defendants improperly withheld

  documents as privileged and redacted portions of other documents without designating them on

  the privilege log.” Order at 1. With regards to the documents Defendants withheld under a claim

  of work product, the Magistrate Judge held that Defendants “set forth a prima facie claim of

  work-product privilege” and that there is no apparent “reason why plaintiff cannot obtain the

  information on the same subject matters by other means.” Id. at 1-2. On the redactions issue,

  Magistrate Judge ruled that “documents that were partially redacted as irrelevant to the discovery

  requests, [sic] need not be listed on the privilege log.” Id. at 2. Both rulings misapplied the law

  and should therefore be set aside.

                                       STANDARD OF REVIEW

         A district court reviews a Magistrate Judge’s ruling on a motion to compel under a

  “clearly erroneous or contrary to law’ standard of review.” Montanile v. Botticelli, No.

  1:08cv716, 2009 WL 2378684, *2 (E.D.Va. July 28, 2009) (citing Jesselson v. Outlet Assocs. of

  Williamsburg, Ltd. P'ship, 784 F. Supp. 1223, 1228 (E. D. Va. 1991)). “The ‘clearly erroneous’

  standard applies to factual findings, while legal conclusions will be rejected if they are ‘contrary

  to law.’” Sky Angel U.S., LLC v. Discovery Commc’ns, LLC, 28 F. Supp. 3d 465, 479 (D. Md.

  2014). A court's “finding is ‘clearly erroneous' when although there is evidence to support it, the

  reviewing court on the entire evidence is left with the definite and firm conviction that a mistake

  has been committed.” Id. (citing United States v. U.S. Gypsum Co., 333 U.S. 364, 395, 68 S.Ct.

  525, 92 L.Ed. 746 (1948)). An order is contrary to law “when it fails to apply or misapplies

  relevant statutes, case law, or rules of procedure.” Attard Indus., Inc. v. U.S. Fire Ins. Co., No.

  1:10cv121, 2010 WL 3069799 at *1 (E.D. Va. 2010).




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                                            ARGUMENT

  I.     BY CONDONING DEFENDANTS’ IMPERMISSIBLE REDACTIONS, THE
         MAGISTRATE JUDGE’S ORDER WAS CONTRARY TO LAW

         The Magistrate Judge’s order denying plaintiffs’ motion to compel with respect to the

  redacted documents at issue was contrary to law for two independent reasons: (1) Defendants

  redacted unambiguously relevant information and (2) the Federal Rules do not permit unilateral

  redactions made solely on the basis of relevance.

         A.      Defendants Improperly Redacted Relevant Information From Otherwise
                 Responsive Documents

         The starting point for the Magistrate Judge’s order is clearly erroneous. The Magistrate

  Judge’s analysis relied on the predicate that Defendants had made redactions only for “personal

  information and identities.” Order at 2. Defendants, however, made clear during the parties’

  most recent meet and confer that they do not assert that any of the redacted information qualifies

  as personal identifying information.5 Instead, Defendants have consistently taken the position

  that the redactions were made exclusively on the basis that the redacted information was

  “irrelevant” or “not discoverable.” Opp’n at 2, 14. The Magistrate Judge’s misunderstanding of

  the essential nature of Defendants’ redactions is reason alone to set aside the order.

         In any event, as an examination of several of the redacted documents shows,6 Defendants

  wrongly redacted relevant and discoverable information. The Federal Rules of Civil Procedure

  provide that “[p]arties may obtain discovery regarding any nonprivileged matter that is relevant



  5
         Nor, for that matter, do they “assert[] any claim of privilege to these redactions.” Opp’n
  14.
  6
          Defendants try to hold Plaintiffs’ inability “to explain why they contended that [the
  redacted] information was relevant” during the meet and confer against Plaintiffs. Opp’n at
  15. In Defendants’ view, Plaintiffs bear the burden of rebutting Defendants’ assertions of
  “irrelevance” over the redacted information. Of course, this is difficult to do when the
  information has been redacted, without explanation, by Defendants in the first instance.


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  to any party’s claim or defense.” Fed. R. Civ. P. 26(b)(1). But Defendants’ redactions

  encompass matter directly relevant to the claims and defenses.

         As one illustration of Defendants’ narrow conception of discovery under Rule 26,

  Defendants redacted so-called “not discoverable” information from a




                                                                                  See Exhibit 7. The

  information beneath these redactions undoubtedly relate to Defendants’ understanding of, and

  reaction to, the events and allegations that form the heart of Plaintiffs’ complaint. See In re MI

  Windows & Doors, Inc. Prod. Liab. Litig., No. 2:12-MN-00001, 2013 WL 268206, at *2 (D.S.C.

  Jan. 24, 2013) (compelling defendant to produce unredacted versions of improperly redacted

  “statements from an employee’s weekly activity report that relate to the very concerns that form

  the basis of the homeowner plaintiffs’ complaints”).

         In another document, Defendants redacted seven entries from a



                             See Exhibit 9 (WAPLES00002427). The information surrounding the

  redacted portion shows that Defendants redacted entries



             . There is no basis for asserting that information relating to tenants being investigated

  by Mr. Jones—Defendants’ sole 30(b)(6) designee—is irrelevant to this case. Defendants’

  selective enforcement of the policy goes to the heart of Plaintiffs’ claims that rely on proof of

  intentional discrimination, and the redacted information clearly relates to such enforcement at the

  Park and at Defendants’ other properties. See, e.g., Laufman v. Oakley Bldg. & Loan Co., 72




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  F.R.D. 116, 120 (S.D. Ohio 1976) (holding Plaintiffs were entitled to Defendants’ records “with

  respect to transactions similar to the one in question whether the present case is a class action or

  not, as they may tend to show a pattern of refusal to lend in integrated areas.”).

         As another example, Defendants produced what Defendants’ 30(b)(6) designee

  confirmed was a tenant report generated by Yardi that has redactions on



                                                                            See Exhibit 10

  (WAPLES00001335).7 This type of redaction “deprives plaintiffs of context for the relevant

  information” and therefore should not be permitted. In re MI Windows, 2013 WL 268206, at *3

  (D.S.C. Jan. 24, 2013).

         As these examples show,8 Defendants’ redactions unambiguously cover information

  directly relevant to the claims and defenses in this case. Because the Magistrate Judge’s order

  erroneously concluded that Defendants’ redactions covered personal information and identities—

  which is factually incorrect—or otherwise “irrelevant information”—which is a legally improper

  basis for redaction, Order at 2, the Court should set aside that order.




  7
         Because the Rule 30(b)(6) deposition took place yesterday, the transcript is not yet
  available.
  8
          Defendants redacted 61 documents, with many documents containing multiple
  redactions, not including documents where information was blacked out. It is not Plaintiffs’
  burden to prove that each such redaction covered relevant information. See Beverage
  Distributors, Inc. v. Miller Brewing Co., No. 2:08-CV-1112, 2010 WL 1727640, at *5 (S.D.
  Ohio Apr. 28, 2010) (“Given the extent of the redactions made by defendants, it would be
  impossible to divide them into a few discrete categories about which relevancy arguments could
  conveniently and intelligently be made. For the same reason, an in camera review of each
  redacted document and the corresponding unredacted original would be unnecessarily
  burdensome and time-consuming.”).


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         B.      Defendants’ Redactions Were Made In Violation of the Federal Rules

         The Magistrate Judge’s Order condoned Defendants’ unilateral redactions of what they

  perceived to be “irrelevant information” from otherwise relevant documents. See Order at 2

  (denying motion to compel in part because “[i]rrelevant information contained within an

  otherwise relevant document is like any other irrelevant material that need not be

  produced.”). The Magistrate Judge’s order was contrary to law.

         Plaintiffs are not aware of any Fourth Circuit decision permitting a party to unilaterally

  redact what it alone believes is irrelevant information from otherwise relevant documents. The

  several district courts within the Fourth Circuit that have addressed this issue have all found that,

  absent special circumstances, unilateral redactions in otherwise responsive documents on the sole

  basis of “irrelevance” are not permitted by the Federal Rules. See Wellin v. Wellin, No. 2:13-

  CV-1831-DCN, 2014 WL 3496514, at *4 (D.S.C. July 14, 2014) (“Because [the parties opposing

  the motion to compel] have provided no explanation for their redactions and because they have

  not asserted privilege over the redacted material, the court will require them to reproduce all

  responsive documents in their complete form.”); In re MI Windows & Doors, Inc. Prod. Liab.

  Litig., No. 2:12-MN-00001, 2013 WL 268206, at *2 (D.S.C. Jan. 24, 2013) (“Redaction is, after

  all, an alteration of potential evidence. The Federal Rules sanction only very limited unilateral

  redaction, see Fed. R. Civ. P. 5.2. Outside of these limited circumstances, a party should not

  take it upon . . . itself to decide unilaterally what context is necessary for the non-redacted part

  disclosed, and what might be useless to the case.” (quoting David v. Alphin, No. 07–11, 2010

  WL 1404722, at *7 (W.D.N.C. Mar. 30, 2010))); Cognate BioServices, Inc. v. Smith, No. CIV.

  WDQ-13-1797, 2015 WL 1256499, at *7 (D. Md. Mar. 17, 2015) (“[T]he Federal Rules provide

  no procedural device for unilateral redaction by a party and it is a procedure that is not favored.”

  (citation omitted)); see also Wellin v. Wellin, No. 2:13-CV-1831-DCN, 2015 WL 5781383, at *5


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  (D.S.C. Sept. 30, 2015) (“Courts have recognized that relevance-based redactions are disfavored,

  because they breed suspicions, and they may deprive the reader of context.” (quotation marks

  and citation omitted)).

         If there were any doubt about this rule, there is a strong consensus among federal courts

  that unilateral redactions made solely on the basis of “irrelevance” are never justified. Contrary

  to the Magistrate Judge’s Order, “there is nothing in the Federal Rules of Civil Procedure that

  permits the unilateral redaction of information, in otherwise responsive documents, that one

  party or the other deems not relevant.” In re Stryker Rejuvenate & Abgii Hip Implant Prod.

  Liab. Litig., No. MDL 13-2441 DWF/FLN, 2014 WL 2808919, at *3 (D. Minn. June 20, 2014);

  see also John Wiley & Sons, Inc. v. Book Dog Books, LLC, 298 F.R.D. 184, 186 (S.D.N.Y. 2014)

  (“[R]edactions of portions of a document are normally impermissible unless the redactions are

  based on a legal privilege.”); Anthropologie, Inc. v. Forever 21, Inc., No. 07 CIV. 7873

  RJSMHD, 2009 WL 690126, at *5 (S.D.N.Y. Mar. 13, 2009) (rejecting defendants’ argument

  that redactions “were permissible to eliminate irrelevant material” and ordering defendants to

  “produce the non-privileged documents in unredacted form”); Orion Power Midwest, L.P. v. Am.

  Coal Sales Co., No. 2:05-CV-555, 2008 WL 4462301, at *2 (W.D. Pa. Sept. 30, 2008) (rejecting

  Defendants’ “redaction campaign” of “scrub[bing] responsive documents of non-responsive

  information” and granting “plaintiff’s motion to compel . . . production of non-privileged

  documents in unredacted form” because “Rule 34 talks about production of ‘documents,’ as

  opposed to the relevant information contained in those documents”).9



  9
          One court has explained the “themes which pervade” the case law concerning unilateral
  redactions for relevance in the following way: “(1) that redaction of otherwise discoverable
  documents is the exception rather than the rule; (2) that ordinarily, the fact that the producing
  party is not harmed by producing irrelevant information or by producing sensitive information



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         Further, Plaintiffs are not aware of any jurisdiction that permits such unilateral

  redaction. Unsurprisingly, Defendants are only able to cite one case from California in support

  of their radical position that parties may unilaterally redact information, in documents that are

  undisputedly otherwise relevant, on the basis that the redacted information contains “irrelevant”

  information. In that case, the Court permitted redaction of certain non-responsive information in

  defendant’s “personal date book,” noting that the redactions were not driven by irrelevance, but

  concerns over defendant’s “right of privacy.” Carrizosa v. Stassinos, No. C 05-2280 RMW RS,

  2006 WL 2529503, at *4 (N.D. Cal. Aug. 31, 2006). Defendants, by comparison, have provided

  no legitimate reason for their redactions. The Magistrate Judge’s Order likewise cited to no

  authority condoning the type of redaction made by Defendants here.

         The Magistrate Judge’s order was contrary to law, and the Court should compel

  Defendants to produce unredacted versions of all documents they have redacted.

  II.    IN FINDING THAT EMAILS BETWEEN YARDI AND DEFENDANTS
         CONSTITUTED ATTORNEY WORK PRODUCT, THE MAGISTRATE
         JUDGE’S ORDER WAS CONTRARY TO LAW

         The Magistrate Judge’s order holding that the work product doctrine protects from

  discovery “investigatory directions and information” directed to any third party for documents

  “created near to or after the filing of the complaint in this case” is contrary to law. See Order at 1

  (concluding that work product privilege applies to documents even “though they may be directed

  to a third party”). But Rule 26(b)(3)(A) of the Federal Rules of Civil Procedure defines work




  which is subject to a protective order restricting its dissemination and use renders redaction both
  unnecessary and potentially disruptive to the orderly resolution of the case; and (3) that the Court
  should not be burdened with an in camera inspection of redacted documents merely to confirm
  the relevance or irrelevance of redacted information, but only when necessary to protect
  privileged material whose production might waive the privilege.” Beverage Distributors, 2010
  WL 1727640, at *4.


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  product as “documents and tangible things that are prepared in anticipation of litigation or for

  trial by or for another party or its representative.” Fed. R. Civ. P. 26(b)(3)(A) (emphasis

  added); see also Rickman v. Deere & Co., 154 F.R.D. 137, 138 (E.D. Va. 1993), aff’d, 36 F.3d

  1093 (4th Cir. 1994) (“The protection accorded by Rule 26(b)(3), however, applies only to

  documents prepared by a ‘party’ or a party’s ‘representative.’”). To establish the applicability of

  the work product privilege, Defendants must show, as to each document, that the work product in

  question was: (1) prepared by, or under the direction of, an attorney and (2) was prepared in

  anticipation of litigation. Hickman v. Taylor, 329 U.S. 495, 67 S.Ct. 385, 91 L.Ed. 451 (1947);

  In re Grand Jury Proceedings, 102 F.3d 748, 750 (4th Cir. 1996).

         The Order erroneously holds that Defendants established that the at-issue emails with

  non-party Yardi constitute work product and ignores the fact that even if such documents are

  work product—which Plaintiffs do not concede—any claim of work product was waived when

  Defendants disclosed any purported work product to Yardi. The Order fails to consider that the

  emails from Yardi to Defendants do not constitute documents prepared by a party or party’s

  agent. The Order also assumes, without sufficient factual support, that the withheld documents

  were prepared in anticipation of litigation merely because they were made “near to or after the

  filing of the complaint in this case” without considering that Defendants regularly communicated

  with Yardi in their ordinary course of business, making it probable the withheld communications

  were not made in anticipation of litigation, but in the ordinary course of Defendants’ business of

  screening and tracking its residents using Yardi’s software. Further, the Magistrate Judge’s

  Order ignored Plaintiffs’ evidence that showing that Defendants waived work product protection

  by sharing communications with a neutral third party with whom Defendants shared no common




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  interest with respect to this litigation, thereby destroying any reasonable expectation of

  confidentiality with regard to the communications at issue.

          A.      Yardi is not Defendants’ Agent, Representative, or Counsel

          Yardi is not Defendants’ agent, representative, or counsel. It is an independent third

  party that provides residential screening services to Defendants on an arm’s-length

  basis. Defendants’ own contract with Yardi,



                             . See Ex. 11 (WAPLES00000814) at 817. The agreement further

  provides that




          Id. Defendants have never asserted otherwise.

          Yardi’s relationship with Defendants is thus distinct from typical situations in which

  communications with an agent or representative of a defendant were protected by the work

  product doctrine. Yardi is an independent fact witness in this case—not an extension of

  Defendants or their counsel—and communications between Defendants and Yardi therefore are

  not protected by the work product doctrine. See Rickman, 154 F.R.D. at 138 (declining to extend

  work product protection to materials “prepared by Farm Bureau in anticipation of subrogation

  litigation” because “Farm Bureau is not a ‘party.’ Nor . . . is it the ‘representative’ . . . of

  plaintiff.”); see also Galambus v. Consol. Freightways Corp., 64 F.R.D. 468, 473 (N.D. Ind.

  1974) (“The work product rule has no application to a document prepared by and in the hands of

  a third person who is neither a party to nor interested in the action.”).




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         B.      Communications Between Defendants and Yardi Were Not Made in
                 Anticipation of Litigation, But Made in the Ordinary Course of Business

         The Magistrate Judge incorrectly ruled that communications between Defendants and

  Yardi “clearly indicate that . . . they contain investigatory directions and information relating to

  discovery responses.” Order at 1. The Magistrate Judge’s reasoning that the communications

  were made near to or after the filing of the complaint ignores that Defendants and Yardi had an

  ongoing business relationship since 2013. The work product doctrine only protects documents

  and tangible things made in anticipation of litigation and does not protect documents created in

  the ordinary course of business. In determining whether a document is entitled to work-product

  protection, the court must consider whether “the ‘primary motivating purpose’ behind the

  performance of the work was to assist in the pending or impending litigation.” Spilker v.

  Medtronic, Inc., No. 4:13-CV-76-H, 2015 WL 1643258, at *7 (E.D.N.C. Apr. 13, 2015) (internal

  citations omitted). To the extent that discoverable documents contain counsel’s opinion and

  theories regarding the litigation, “the court may require production of a redacted copy.” Id. at *7.

         Plaintiffs have reason to believe that Defendants’ communications with Yardi were not

  confined to gathering information regarding “Yardi’s policies and procedures for conducting

  criminal background and credit checks,” Opp’n at 13, but instead reveal communications made

  in the ordinary course of business. Defendants license software from Yardi which it uses to

  screen prospective tenants, including running credit and background checks, and to track current

  residents. Several entries on Defendants’ revised privilege log suggest the withheld emails were

  no more than routine business communications. For instance, Defendants withheld an August

  22, 2016 email from Patrick Hennessey, a Yardi employee, to Mark Jones, the Chief Financial

  Officer of Defendant A.J. Dwoskin, claiming that the email contained “information in

  connection with seeking legal advice” and/or “contact undertaken as investigation as a result of



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  Reed Smith’s direction.” Ex. 5 at entry with Control No. DOCID00569569. On the same date, a

  Regional Property Manager sent an email to Residential Property Managers



                                                                Ex. 12 (WAPLES00001425). The

  coincidental timing implies the withheld emails contain information regarding Defendants’ use,

  or lack thereof, of the Yardi software system for lease renewals.

         Similarly, Defendants withheld communications with Yardi that resulted in Yardi

  creating certain reports about tenants at Defendants’ Mobile Home Parks, followed by strict

  enforcement of lease provisions. Defendants’ revised privilege log lists a withheld email from

  Jones to Kevin Ortega, Yardi employee, that Defendants claim is protected work product. Ex. 5

  at entry with Control No. DOCID00660922-926. Defendants produced subsequent

  communications



                                                    Ex. 13 (WAPLES00002417). The report was

  followed

  See id. Defendants also withheld several communications that took place with Yardi employees

  in June 2016. See, e.g., Ex. 5 at DOCID00660653-660654. Subsequently, Defendants




                See Ex. 14 (WAPLES00001272).10 Again, the fact that the communications and

  produced reports coincided with a flurry of requests for additional documents from tenants




  10
          See also id. at WAPLES00001280, 1277, 1283, 1286, 1287, 1291, 1292, 1293. (Letters
  sent to non-Plaintiffs tenants on, the bulk of which fall between July and early September 2016).


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  suggests Plaintiffs have been deprived of critical, discoverable information regarding

  Defendants’ practices for enforcing the policy. Enforcement of the policy at Defendants’ various

  properties involves Defendants’ business decision and goes to the heart of Plaintiffs’ claims that

  Defendants discriminated against them based on race and national origin under the Fair Housing

  Act and on the basis of citizenship and alienage under Section 1981. Complaint ¶¶ 113, 134.

         C.      Any Work Product That May Have Existed Was Waived by Disclosure to
                 Third Party Yardi

         The Magistrate Judge’s Order disregarded the crucial fact that Yardi was not just any

  third party, but a material witness and self-declared neutral third party in this case, which

  abrogated any reasonable expectation that such communications would remain confidential. The

  “reasonableness of the disclosing party’s expectation of confidentiality [i]s the touchstone for

  determining whether work product privilege was waived.” E.I. Du Pont de Nemours & Co. v.

  Kolon Indus., Inc., No. CIV.A. 3:09CV58, 2010 WL 1489966, at *5 (E.D. Va. Apr. 13, 2010);

  see also In re Doe, 662 F.2d 1073, 1081 (4th Cir. 1981) (holding that a party or its attorney

  waives work product privilege “when disclosure occurs in circumstances in which the attorney

  cannot reasonably expect to limit the future use of the otherwise privileged

  material.”). Defendants did not have a reasonable expectation of confidentiality regarding their

  emails with third-party Yardi because Defendants and Yardi possess an arm’s-length business

  relationship and nothing more. Defendants have never asserted otherwise. Yardi has also

  represented to Plaintiffs that it is a neutral party with respect to this litigation—and specifically

  that it has no “dog in this fight.” See Ex. 15 (Margeson Declaration).

         The Magistrate Judge wrongly adopted Defendants’ claim that their communications with

  Yardi were protected by work product doctrine and implicitly accepted Defendants’ unsupported

  contention that Defendants had a reasonable expectation of confidentiality on the mere



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  assumption that the communications were made at the direction of counsel and made after

  service of the Complaint. Opp’n at 12; see Order at 1. The Order fails to consider, however, that

  Yardi was also in communication with Plaintiffs after service of the complaint pursuant to

  Plaintiffs’ investigation of this case. Yardi even copied Defendants on emails that it exchanged

  with Plaintiffs regarding its declaration for this case. Ex. 16 (November 13, 2016 email from B.

  Bustany to W. Margeson and M. Dingman). Defendants could not reasonably expect that email

  conversations with Yardi would be kept confidential. Thus, even if a privilege existed in the first

  instance, Defendants waived that privilege over their emails with Yardi.

         The Order incorrectly accepted Defendants’ contention that Defendants and Yardi are

  “allies” in this litigation, glossing over the intricacies of Defendants’ relationship with Yardi, and

  in the process misconstrues the common interest exception to work product waiver. The

  “common interest” doctrine only protects work product shared with a third party when that third

  party’s legal interest coincides with the party sharing the information. C.f. Bethune-Hill v.

  Virginia State Bd. of Elections, 114 F. Supp. 3d 323, 346 (E.D. Va. 2015). This exception does

  not apply here. As the Fourth Circuit has explained, “common interest” privilege covers such

  relationships as civil co-defendants, companies that had been individually summoned before a

  grand jury who shared information before any indictment was returned, potential co-parties to

  prospective litigation, plaintiffs who were pursuing separate actions in different states, and civil

  defendants who were sued in separate actions.” In re Grand Jury Subpoenas, 89-3 & 89-4, John

  Doe 89-129, 902 F.2d 244, 249 (4th Cir. 1990) (internal citations omitted). Defendants do not

  claim—nor can they claim—any such connection with Yardi. Thus, common interest doctrine—

  an exception to the general rule that work product privilege is waived when disclosed to a third




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  party—does not apply. See In re Outsidewall Tire Litig., No. 1:09CV1217, 2010 WL 2696643,

  at *2 (E.D. Va. July 6, 2010).

         Instead, Defendants impermissibly attempt to expand the common interest exception,

  arguing that it also covers work product disclosures to third parties that are “allies” to the

  disclosing party. Opp’n at 10. But Defendants misconstrues precedent. If accepted, their

  interpretation would permit the common interest doctrine to swallow the third-party waiver

  rule. Further, Yardi is not Defendants’ ally in this litigation in any sense of the word. As stated

  previously, Yardi has been in communication with both Plaintiffs and Defendants, and has given

  both sides ample information relating to its operations in the context of the underlying facts. See,

  e.g., Ex. 16. This nullifies Defendants’ reliance on the cases cited in their brief. See E.I. DuPont

  de Nemours & Co. v. Colon Indus., Inc., No. 3:09cv58, 2010 WL 1489966, at *8 (E.D. Va. Apr.

  13, 2010) (explicitly stating that one of the factors it considered was a reasonable expectation of

  confidentiality, which cannot exist where a third-party includes opposing counsel on emails

  regarding the case); FEC v. Christian Coalition. 178 F.R.D. 61, 76 (E.D. Va. 1998) (“[T]he mere

  showing of voluntary disclosure to a third party . . . shall not suffice in itself for waiver of work

  product privilege.” (emphasis added)). The lack of a reasonable expectation of confidentiality in

  communications between Defendants and Yardi is precisely the sort of additional consideration

  that places those communications outside the ambit of such decisions. Thus, Defendants waived

  work product protection, and the Magistrate Judge’s order holding otherwise is contrary to law.

                                            CONCLUSION

         For the reasons stated, the Court should set aside the Magistrate Judge’s order and order

  Defendants to produce the documents subject to Plaintiffs’ motion to compel immediately, and

  grant leave for Plaintiffs to reopen any depositions of Defendants after receiving the outstanding

  documents for the purpose of questioning Defendants’ witnesses on such documents.


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  DATED this 23rd day of November, 2016 Respectfully submitted,



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                                 CERTIFICATE OF SERVICE

         I hereby certify that on the 23rd day of November, 2016, I filed the foregoing Objection

  electronically with the Clerk of the Court using the ECF system, and caused to be served by

  electronic mail a copy of the foregoing document upon the following parties:

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